 

Case 3:08-0v-00565-BEN-CAB Document4-2 Filed 07/31/2008 Page 1 0f1

991$11199 912\@1/1/j y

W% 'E!UJO,\!I€O ‘3919611\1801 ‘9002 ‘LQAIHF 19190

'epeu1 s9/v\ e01/\1es eq1 110110e11p es011/v\19 11n03 s1111
1 19q eq110 1eqLueu1 910 e01110 eq1 111 per|dLue Lu9 1 19111e1910ep 1 (191epe:1)E

 

'u01ss1Lusu911

s11111011eeqs u0119111111u0:) 1101ss11usu911 x91 pu91eeqs 1e/\00 x91e11110 Ad0010e1100
pu9 en11 9 s1 e01/\1e3101001d s1111 01 peq0911V '1e1dooe1e1Aq eesse1pp9 eq110
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'eesse1pp9 eq110 se01110 eq101
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'A1e/\11e10 11161u1e/\0 101

sse1dx;1 e11111e/\O [: sse1dx;1 191e10e:1 :] Aq peu191u19Lu A1191n6e1 A11110911e1110 10
xoq 9 111 pe11sodep eq 111/111 u1e1e11 peq110sep (s)1uewnoop eq1 19111 /11\011>1 pu9 Me/\!|ep
11161u1e/\0 101 e:)uepuodse110010 6u1sse001d pu9 u0110e1100 101 sseu!an 10 e091d Au1
19 se011091d sseu1an A19111p10 eq1 1111/1/\ 1911111191 A11p9e1 1119 1 (1191/11 11161u1e/\0 Ag){:]

'e/\0q9 pe1901pu1 s9 pesse1ppe ‘sseu!an 10 es1n00

A19u1p10 e`1.11 u1 A9p eu19s19111 eo!/ueg 191s0c1 se1913 pe1111n eq1 1111/111 pe11sodep

eq 0111esn90 01 s9 1eu1191u 110r1s 111 pu9 ‘se011091d sseu!an A19u1p10 q:)ns
6u1/v\01101 6111119Lu pu9 u0110e1100 101 pe11sodep pu9 edo|e/\ue pe19es 9 111 pe091d
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19 e01/\1eg 191s0c1 se1913 pe11un eq1 1111/111 6u1119Lu 101 eeuepuodse1100 10 Bu1sse001d
pu9 u0110e1100 101 se011091d sseu1an A19u1p10 eq1 1111/111 19111u191 1119 1 (1191111 Ag) §

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00 LL el!nS ‘199118 V lSS/\/\ OLL
191eue5) Aeu1011V eq110 e0111()

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pasol~')ue ‘10919111191116!10 119 § AdOO 91111 19 § 61110€1<1 Aq 1151Nz1011v 10 N011n111se1ns
901 N01101N 89 paquosep 111911111<)01) 6111069101@111 119/1198 1 Qooz ‘19 Alnr 110

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eo!ue/\ ‘e/\V 91zeue/\ 999 s1 sse1pp9 sseu1an 11111 f1101109 196e1 s1111 01 A119d 910u pu9 3110
e69 eq11e/\0 Lu9 1 '91u101119() 10 e191g ‘se1e6uV s01 10 A1un0() eq1 u1 pe/{o|dLue 1119 1

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